     Case 4:20-cr-00082-WTM-CLR Document 78 Filed 06/01/21 Page 1 of 11




                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                     SAVANNAH DIVISION

UNITED STATES OF                   )
AMERICA,                           )
                                   )
v.                                 )           CR420-082
                                   )
DARRYL KINLOCH,                    )
                                   )
      Defendant                    )

                                  ORDER

      The undersigned recommended that defendant Darryl Kinloch’s

Motion to Suppress, doc. 27, be denied.         Doc. 65.   Kinloch filed an

objection to the Report and Recommendation (R&R). Doc. 72. Because

an issue raised in the objection implicates the accuracy of the R&R’s

analysis, but is insufficient to establish that analysis’ inaccuracy, the

Court VACATES the R&R, doc. 65, and will hear further from the parties

concerning the legal issue raised by the objection.

      The circumstances of Kinloch’s arrest on February 9, 2020, and the

searches that followed it, are somewhat complicated.             Defendant’s

objection does not take issue with the Court’s presentation of the facts,

see doc. 72, but a brief recitation will clarify the legal issue raised in the

objection. The events leading to Kinloch’s prosecution for possession of
    Case 4:20-cr-00082-WTM-CLR Document 78 Filed 06/01/21 Page 2 of 11




firearms by a prohibited person, see doc. 1, began when Savannah Police

Department Officer Devin O’Neil observed a vehicle traveling at a high

rate of speed and in the wrong lane of traffic, doc. 65 at 2.        O’Neil

conducted a traffic stop, asked the driver, subsequently identified as

defendant Kinloch, to step out of the vehicle, and began to question him.

Id. A second officer, Officer Bishop, arrived and conducted a field sobriety

test. Id. at 2-3. At the end of that test, the officers attempted to arrest

Kinloch. Id. at 3. Kinloch resisted and a fight ensued. Id. Kinloch was

ultimately subdued and confined in a patrol car. Id. While he was

confined, officers conducted two searches of his car. Id. at 3. First,

Officer Bishop conducted a search, which the Government contends was

pursuant to Kinloch’s arrest for DUI. See doc. 34 at 10. Then, Officer

O’Neil searched the car, allegedly based on probable cause arising from

his detection of the odor of marijuana. See id. at 11-12.

     Kinloch’s original motion argued that he was illegally seized when

he was arrested for DUI because officers lacked probable cause to arrest

him on that charge. See doc. 27 at 4-5. He also argued that Bishop’s

search violated the Fourth Amendment because he lacked a “sufficient

particularized reason to believe that evidence of driving under the

                                     2
    Case 4:20-cr-00082-WTM-CLR Document 78 Filed 06/01/21 Page 3 of 11




influence of alcohol, the arresting offense, was present in the vehicle,”

precluding application of the search-incident-to-arrest exception to the

warrant requirement, pursuant to Arizona v. Gant, 556 U.S. 332 (2009).

Id. at 5-6. He then argued, independently, that O’Neil’s search violated

the Fourth Amendment because it lacked probable cause. See id. at 6-8

(“Even if Officer Bishop’s initial search was permissible under Gant, the

subsequent warrantless search conducted by Officer O’Neil cannot be

justified under the automobile exception [to the warrant requirement].”).

        The Report and Recommendation addressed the arguments

challenging the arrest and search separately. First, it recommended that

the Court find that Kinloch’s arrest did not violate the Fourth

Amendment, notwithstanding his argument that officers lacked probable

cause to arrest him for DUI, because they had probable cause to arrest

him for the traffic offenses.   See doc. 65 at 9-11.     The Report and

Recommendation also recommended that the Court find Officer Bishop’s

initial search was proper under Gant, rejecting defendant’s argument

that an arrest for DUI does not, alone, support the reasonable belief that

evidence of that offense will be found in the vehicle. See id. at 15-16, 15

n. 4.

                                    3
     Case 4:20-cr-00082-WTM-CLR Document 78 Filed 06/01/21 Page 4 of 11




      Kinloch objects that the recommendation that Bishop’s initial

search be upheld, under Gant, as incident to Kinloch’s arrest for DUI is

inconsistent with the R&R’s declining to determine that officers had

probable cause to arrest him for that offense. Doc. 72 at 2-3. The linchpin

of that argument is Kinloch’s contention that “the search cannot be

upheld as a search incident to arrest for DUI where probable cause to

arrest for DUI is lacking.” Id. at 2. That assertion is made without any

citation to legal authority.1       Id.; see also S.D. Ga. L. Crim. R. 12.1

(“[E]very motion filed in a criminal proceeding shall be accompanied by a

memorandum of law citing supporting authorities.” (emphasis added)).

The objection, therefore, suggests a line of argument that the Report and

Recommendation did not fully consider. In the absence of any supporting

legal authority, however, the validity of the objection is, at best,

speculative.

      Kinloch’s ultimate arrest, which preceded both searches, was based

on numerous offenses, including DUI less safe. See, e.g., doc. 27-2 at 4-5

(listing offenses of arrest as: “DUI less safe[,] Too fast for conditions[,]



1
   The only legal authority cited in the relevant portion of Kinloch’s objection is a
foreshortened and wholly general citation to Gant. See doc. 72 at 2 (citing “556 U.S.
332”).
                                          4
     Case 4:20-cr-00082-WTM-CLR Document 78 Filed 06/01/21 Page 5 of 11




Improper lane use[,] Felony obstruction of an officer[,] Simple battery on

a peace officer[,] Felon in possession of a firearm x 2[,] Possession of a

controlled     substance[.]”).          The     Report      and     Recommendation

recommended that the Court find that his initial seizure, when officers

attempted to place him in handcuffs after the field sobriety test, was

supported by probable cause based on at least the traffic offenses. Doc.

65 at 10-11. His objection does, however, correctly note that the Report

and Recommendation expressly declined to find that the Government

had established probable cause for his arrest for DUI, based on “the

[allegedly] ambiguous results of the field sobriety test.”2

      The Report and Recommendation, then, declined to find that

Kinloch’s arrest for DUI was based upon probable cause because it found

that his arrest was based upon at least one offense for which there was


2 Kinloch’s objection contends that “the fact that the results of the field sobriety tests
were ‘ambiguous’ demonstrates that it was not reasonable for Officer Bishop to
believe that the vehicle contained evidence of DUI.” Doc. 72 at 3. However, the
Report and Recommendation’s characterization of those results as “ambiguous” cites
to Kinloch’s own brief. See doc. 65 at 11 (citing doc. 27 at 4). While perhaps not stated
clearly, the Court’s intent in mentioning the “ambiguous” results was merely to
acknowledge that Kinloch challenged whether those results supported probable cause
to arrest him for DUI, not to comment on their quality or character. Contrary to
Kinloch’s suggestion, then, the Report and Recommendation did no more than decline
to consider whether officers had probable cause to arrest Kinloch for DUI; it certainly
does not “admit[ ] that the results of the field sobriety test were ‘ambiguous.’” Doc.
72 at 2.

                                            5
     Case 4:20-cr-00082-WTM-CLR Document 78 Filed 06/01/21 Page 6 of 11




probable cause. See doc. 65 at 10-11. It then recommended that the

Court find that Officer Bishop’s initial, and limited, search of the vehicle’s

passenger compartment for evidence of intoxicants was justified incident

to Kinloch’s arrest for DUI. Id. at 14-16. The R&R does not, then, find

positively that “probable cause to arrest for DUI is lacking.” Doc. 72 at

2.

      In Gant, the Supreme Court explained the contours of its

jurisprudence, established principally in Chimel v. California, 295 U.S.

752 (1969) and New York v. Belton, 453 U.S. 454 (1981), concerning

searches incident to an arrest as applied to vehicle searches. See Gant,

556 U.S. 335. Reading Belton more narrowly than some courts had, the

Supreme Court held that police are authorized to search a vehicle,

incident to a recent occupant’s arrest, “when the arrestee is unsecured

and within reaching distance of the passenger compartment at the time

of the search,” and “when it is ‘reasonable to believe evidence relevant to

the crime of arrest might be found in the vehicle.’” Id. at 343 (quoting

Thornton v. United States, 541 U.S. 615, 632 (2004) (Scalia, J.

concurring)). The Court noted that “[i]n many cases, as when a recent

occupant is arrested for a traffic violation, there will be no reasonable

                                      6
    Case 4:20-cr-00082-WTM-CLR Document 78 Filed 06/01/21 Page 7 of 11




basis to believe that the vehicle contains relevant evidence. [Cit.] But in

others, including Belton and Thornton, the offense of arrest will supply a

basis for searching the passenger compartment of an arrestee’s vehicle

and any containers therein.” Id. (citations omitted).

     As the R&R explains, Kinloch’s arrest was valid based on officers’

probable cause to believe he had committed traffic offenses, and he was

ultimately arrested based, in part, on those traffic charges. See doc. 65

at 9-11. Kinloch does not challenge that analysis in his objection. See

generally doc. 72. Nor does he challenge that his conduct subsequent to

the officers’ attempt to handcuff him, i.e. his obstruction and battery,

provided additional probable cause for his ultimate arrest, even if that

conduct could not justify the initial seizure. See generally doc. 27, doc.

37, doc. 72. Kinloch does not dispute, then, that his arrest was valid. See

doc. 65 at 10 (citing, inter alia., Lee v. Ferraro, 284 F.3d 1188, 1195-96

(11th Cir. 2002)).

     Despite apparently conceding the validity of his arrest, generally,

he disputes that officers had probable cause to arrest him for DUI in

particular. See doc. 27 at 2; doc. 72 at 2-3. While the R&R referred to

Officer O’Neil’s testimony that he observed indicia of intoxication, see doc.

                                      7
     Case 4:20-cr-00082-WTM-CLR Document 78 Filed 06/01/21 Page 8 of 11




65 at 2, as discussed above, it ultimately withheld determination of the

probable cause basis to arrest Kinloch for DUI, id. at 11.3 However, the

R&R explained—and Kinloch’s reply brief concedes, see doc. 37, at 1-2

(conceding that “it is true that courts have generally determined that the

‘reasonable to believe’ standard is lesser than a ‘probable cause’

standard,” but arguing it is higher than Terry’s “reasonable suspicion”

standard)—that Gant’s “reasonable to believe” standard “require[s] a

lesser quantum of suspicion than probable cause.” See doc. 65 at 14-14.

Kinloch, therefore, concedes both that his arrest, on at least some charge,




3  Although the Court declined to find that the Government had established probable
cause existed to arrest Kinloch for DUI, Officer O’Neil testified at the hearing that
when he removed Kinloch from the vehicle, but before Officer Bishop performed the
field sobriety test, O’Neil “smell[ed] an odor of alcohol,” and that Kinloch “seemed a
little out of it,” and Kinloch’s speech “was a little slurred.” Doc. 60 at 14. Given his
prior observation of Kinloch’s traffic infractions, the Court might have concluded that
officers had probable cause to arrest Kinloch for DUI less safe. See, e.g., Cann-
Hanson v. State, 478 S.E.2d 460, 461 (Ga. Ct. App. 1996) (“Even in the absence of the
field sobriety tests, the officer’s observation that [defendant] had bloodshot, watery
eyes and exuded an odor of alcohol was sufficient to show probable cause to arrest
him for driving under the influence.”); but see Harkleroad v. State, 732 S.E.2d 278,
282 (Ga. Ct. App. 2012) (“speeding, . . . bloodshot eyes, and the odor of alcohol coming
from the car gave the officer reasonable and articulable suspicion to detain
[defendant] for the purpose of administering [a field sobriety test],” but probable
cause arose when the defendant failed the field sobriety test). Given the contradictory
evidence cited by Kinloch, see, e.g., doc. 72 at 2-3, and the undisputed basis for
Kinloch’s arrest, the Court remains convinced that a definitive probable cause
analysis is not warranted. However, those facts may be relevant to whether officers
had “a particularized reason to believe that the vehicle contained evidence of DUI,”
see doc. 37 at 2, notwithstanding that the Court does not explicitly find that they had
probable cause to arrest on that charge.
                                             8
     Case 4:20-cr-00082-WTM-CLR Document 78 Filed 06/01/21 Page 9 of 11




was valid and that Gant permits searches based on less than probable

cause.

      Given those concessions, Kinloch’s objection fails to address the

R&R’s contents squarely. It does not vindicate its legal contention that

a Gant search “is permissible only if there is probable cause for the arrest

on which the search is based.” Doc. 72 at 2. The distinction between the

suspicion necessary to support a warrantless arrest, i.e. probable cause,

and the suspicion necessary to support a search pursuant to that arrest,

i.e. “reasonable belief,” therefore, seems to create precisely the possibility

that he objects to: that officers might lack probable cause to arrest a

defendant for a particular offense, but might still have a “reasonable

belief”4 necessary to support a search under Gant.



4  The objection’s assertion that “the fact that the results of the field sobriety tests
were ‘ambiguous’ demonstrates that it was not reasonable for Officer Bishop to
believe that the vehicle contained evidence of DUI,” doc. 72 at 3, also seems
overstated. The Court cited to several opinions by United States Courts of Appeals
finding that arrest for DUI is sufficient to justify a search of a vehicle, under Gant.
See doc. 65 at 15 (citing Thomas v. Pulmmer, 489 F. App’x 116, 121-22 (6th Cir. 2012)).
Kinloch does not dispute that he was arrested for DUI. See doc. 27 at 4, 6. Even
assuming that the indications that Kinloch was driving under the influence of an
intoxicant never rose to the level of probable cause necessary to justify his arrest on
that charge, those indications might have supplied the lower quantum of evidence
required to justify the search. Se doc. 65 at 14 (discussing the “lesser quantum of
suspicion” necessary to justify a search incident to arrest, under Gant, and collecting
cases). The question, then is whether justifying a search incident to arrest, under
Gant, requires the Government to prove that officers had probable cause to arrest the
                                           9
    Case 4:20-cr-00082-WTM-CLR Document 78 Filed 06/01/21 Page 10 of 11




      Moreover, in at least some circumstances, searches premised on

officers’ mistakes have nevertheless been found reasonable under the

Fourth Amendment. “To be reasonable is not to be perfect, and so the

Fourth Amendment allows for some mistakes on the part of government

officials, giving them fair leeway for enforcing the law in the community’s

protection,” including mistakes based on both misunderstanding of the

facts and applicable law. Heien v. North Carolina, 574 U.S. 54, 61 (2014)

(internal quotation marks and citation omitted). Even assuming, then,

that the Court positively determined that officers lacked probable cause

to arrest Kinloch for DUI, it does not necessarily follow that “the search

cannot be upheld as a search incident to arrest for DUI.” Doc. 72 at 2.

      In order to ensure that the Court’s analysis of Officer Bishop’s

search of Kinloch’s car for evidence of DUI is as thorough as possible, the

Court DIRECTS the parties to submit further briefing. The parties

supplemental briefs should address the legal question raised by the

recommendation: where a defendant is arrested without a warrant based

on multiple charges, and there is a probable-cause basis to arrest on at




defendant on the offense of arrest of which “it is reasonable to believe the vehicle
contains evidence.” Gant, 556 U.S. at 351.
                                        10
   Case 4:20-cr-00082-WTM-CLR Document 78 Filed 06/01/21 Page 11 of 11




least one of those charges, whether Gant permits a search for evidence of

the other charges, and, if so, (1) what basis is required to justify the

search, e.g. probable cause, reasonable belief, reasonable suspicion, etc.,

and (2) whether the Government has proven that Officer Bishop’s search

was justified under the appropriate standard.

     As the movant on the underlying suppression motion, Kinloch is

DIRECTED to submit his supplemental brief no later than June 15,

2021. The Government is DIRECTED to submit any response brief no

later than June 29, 2021. Reply briefs may be submitted pursuant to the

Court’s Local Rules. See S.D. Ga. L. Civ. R. 7.6; S.D. Ga. L. Crim. R. 1.1.

     SO ORDERED, this 1st day of June, 2021.

                                  ______________________________
                                   ___
                                    _________________
                                    __              __
                                                     ______
                                                         ______
                                                             ___
                                                               _
                                                               ____
                                  CHRIS
                                   HRISTOPHER
                                       STOPH ER L. R AY
                                           HER
                                  UNITED S TATES MAGISTRATE JUDGE
                                  SOUTHERN DISTRICT OF GEORGIA




                                    11
